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STATE OF MISSISSIPPI
COUNTY OF JONES
AFFIDAVIT

Personally appeared before me the undersigned authority, in and for said county
and state, James “Jim” Stone, who after being duly sworn states on oath as follows:

1. I, James “Jim” Stone, am of the age of majority and competent to testify
about the matters stated herein and make this affidavit having full personal knowledge
of the facts contained herein.

2. I am currently employed by Jones County as the Warden of the Jones
County Jail (“JCJ”). I was employed in this capacity during David Williams’
incarceration at JCJ.

3. Attached hereto is a copy of the grievance policies and procedures, which
outlines the procedures for submitting inmate grievances, which were in place at the
time of Mr. Williams’ incarceration. Policies and Procedures, attached as Exhibit A.
Inmates are required to submit an informal grievance verbally and then a formal
grievance in writing.

4. I have personally conducted a search of Mr. Williams’ inmate file and
found no formal written grievance forms and five (5) request forms. There were no
grievances regarding Plaintiff's medical care. Plaintiff has failed to exhaust his
administrative remedies as to any lack of medical care claims.

5. As part of my job duties, I am charged with keeping and maintaining the

records of the inmates housed at JCJ. I can attest that the attached records were:

EXHIBIT

a

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a. Made at or near the time of the occurrence of the matters set forth
therein by, or from information transmitted by, a person with
knowledge of these matters;

b. Kept in the course of regular conducted activity; and

C. Created as part of the ordinary course of business.

Further the affiant sayeth not. ee

S ‘JIM’ STONE
oh
Sworn and subscribed before me this thé/J day of October, 2018,

My Commigsigyy Kepites:
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> os tow TTE7O7 a

_ DAVID HARE:

. “Commission Expires.” .

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Jones County Sheriffs Department

Jail and Detention
Policies and Procedures
Subject: Grievance Procedures Policy Number: 12.10
issue Date: Revision Date:
Approval Authority
Title and Signature: .
POLICY:

In support of orderly and safe inmate housing conditions, the Jones County Sheriff's
Department maintains an inmate grievances system consistent with due process.

PENOLOGICAL INTEREST:

This facility provides a grievance procedure for inmates out of an interest to support
inmate rights to due process and in order to operate a reasonable safe, secure, and
well disciplined environment, for inmates and staff.

DEFINITION:

e Grievance - A formal or verbal statement of complaint, generally against an
authority figure in the jail or against an operational aspect of the detention facility
as a whole.

PROCEDURES:

Acts which constitute usual grounds for initiation of a reasonable grievance by an
inmate.include, but are not limited to:

Violation of civil rights;

Criminal acts;

Unjust denial or restriction of inmate privileges;

Confinement issues, such as adequate food, clothing, or access to inmate
services; &

§. Prohibited acts by facility staff.

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Grievance Procedure:
Grievance procedures established by the Jones County Jail consists of the following
steps or options. These steps include:

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| Jail and Detention Policies and Procedures, 12.10 Grievances Procedures |

1. An inmate may file an informal grievance by discussing the specific problem with
a staff member. Normally these informal grievances are filed verbally with staff
having contact with the inmate during routine supervision. Where and when
possible, staff receiving the grievance may address the complained of condition
directly. Emergency grievances, in which delay in handling could result in
personal injury or other damages to the inmate, will be handled éxpeditiously.
Staff are encouraged to use their own initiative to resolve issues that are within
their authority. If not resolved at the officer level, the grievance will be passed to
the Shift Supervisor for action or subsequent referral.

2. Facilities with a capacity of fifty [50] inmates or less may assign one [1] officer to
handle formal grievances. Larger facilities should select a grievance board.

3. If the problem cannot be resolved through informal discussions or the inmate
wishes-to document the grievance for additional consideration, he may submit a
written grievance to the grievance officer/board.

4. Formal grievances are filed in writing and an inmate may ask for assistance from
officers or other inmates in writing out the grievance on the specified form.
Grievance forms and writing materials wil! be made available to inmates upon
request. A problem that results from a specific event or action must be
presented on the approved form within seven [7] days of the occurrence. Formal
grievances will be accepted in a grievance drop box. On a daily basis, officers
conduct rounds throughout the facility giving inmates the opportunity to drop
written grievances In the box. The grievance drop box will then be sent directly
to the Jail Administrator who will review the filed grievances and forward the
same to the grievance officer/board. The grievance must:

a. Be in writing;
b. Clearly define the situation in question and the facts upon which it is
based;

Specify the wrongful act or situation and describe the harm done;

Arise out of an act or failure to act by the Jones County Jail;

Address a matter within the control of the facility;

Request a remedy that is within the power of the facility to grant;

Be submitted within seven [7] days of the occurrence;

Include a copy of any written supporting documents or pertinent

discussion, decision, and justification; &

i. Specify a requested remedy.

5. The decision of the grievance officer/board will be presented to the inmate in
writing, no later than fifteen [15] days after the grievance is received. The
grievance officer/board will provide for meaningful relief of a substantiated
grievance [i.e., reinstatement of good time, additional visitation privileges]. in
order to prevent reprisals against an inmate, disciplinary action may be taken
against any staff member who retaliates or attempts to retaliate against an
inmate filing a grievance.

6. Inmates may be disciplined for filing frivolous or repeated grievances that
consistently have little or no merit.

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| Jait and Detention Policies and Procedures, 12.10 Grievances Procedures

7. Appeal of a grievance officer's/board’s decision is made to the Jail Administrator
on the same grievance form or format. The Jail Administrator has fifteen [15]
days from the date the grievance is received to respond, and the decision of the
Jail Administrator is final.

8, The facllity will maintain records of all grievances filed by an inmate for at least
five years after the inmate has left or been released from the facility. Grievance
information regarding Inmates and employees will be kept strictly confidential. In
no case will information be released without the specific approval of the Sheriff
or designee.

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10/26/2012 PRE 14:09 Fax 6014293630 JONES CO ADULT DET FAC 01/002

s
Jones County Aduit Detention Facility
INMATE GRIEVANCE FORM

While in this facility, you are provided the opportunity to submit formal grievances to the Jail Administration. However, all
grievances must: .

4. Arlee cut of an act or failure to act by Jonas County Adult Detention Facility officials or deal specifically with 2
condition of confinament;

2. Be submitted within seven [7) daye of fing an Informal, word of mouth grievence with e guard,

3, Address e@ mutter within the reasonable contro! of tha facility; and ‘

4. Request a remedy thet fe within the power of the facility to grant.

careful completion of thia forn, sellok tha complaint to @ correctional officer for review by the Jail
Aer eiebey or dengue. Unter clreumstances, the Jali Adminiatrator will provide you with o written response
within seven (7] days of receipt.
Inmate Name: . Inmate | Number:
Date:

Please define the situation in queation, including all relevent facts and witnesses:

Specify the harm done by the wrongiul ect or ekuation:
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Gpeclfy the specific relief or action sought to ramedy the problem:

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Names of witnesses or other effectad inmates:

Inmate Signature:

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Resporisa:

